EXHIBIT B
                                                                                                                                          Claim #584 Date Filed: 8/11/2023

 Fill in this information to identify the case:


 Debtor             Tehum Care Services, Inc.

 United States Bankruptcy Court for the:   Southern                      District of Texas
                                                                                        (State)

 Case number       23-90086




Official Form 410
Proof of Claim                                                                                                                                                                04/22
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?                      AIG Member Companies                 listed on attached addendum
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been
   acquired from
                                 ✔ No
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               See summary page
   creditor be sent?
                                 Name                                                                            Name
    Federal Rule of
    Bankruptcy Procedure         Number          Street                                                          Number          Street
    (FRBP) 2002(g)
                                 City                                State                 ZIP Code              City                                  State                 ZIP Code

                                 Contact phone       212-458-7101                                                Contact phone

                                 Contact email       kevin.larner@aig.com                                        Contact email

                                 (see summary page for notice party information)
                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                           Filed on
                                                                                                                                                         MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                        ¨2¤G2390086230811000000000002
                                                                                                                               v7(+                "K«                      page 1
Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ 13951361.00                                . Does this amount include interest or other charges?
                                                                                 ✔ No
                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 insurance


9. Is all or part of the claim        No
   secured?
                                  ✔ Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                             ✔ Other. Describe:              cash held by creditor


                                             Basis for perfection:           cash held by creditor
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $ 13951361.00
                                             Amount of the claim that is secured:           $ 13951361.00
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                      No
    right of setoff?
                                  ✔ Yes. Identify the property: Cash held by creditor




 Official Form 410                                             Proof of Claim
                                                                                                        ¨2¤G2390086230811000000000002
                                                                                                               v7(+                "K«          page 2
12. Is all or part of the claim      ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,350* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $15,150*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $

                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.



Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔ I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
A person who files a              I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
fraudulent claim could be         the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fined up to $500,000,
imprisoned for up to 5            I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
3571.                             I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on date             08/11/2023
                                                                    MM / DD / YYYY




                                  /s/Michael S. Davis
                                          Signature


                                  Print the name of the person who is completing and signing this claim:

                                  Name                       Michael S. Davis
                                                             First name                             Middle name                            Last name

                                  Title                      Attorney
                                  Company                     Zeichner Ellman and Krause LLP
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




 Official Form 410                                                        Proof of Claim
                                                                                                                          ¨2¤G2390086230811000000000002
                                                                                                                                 v7(+                "K«            page 3
                                           KCC ePOC Electronic Claim Filing Summary
                                For phone assistance: Domestic (866) 967-0491 | International 001-424-236-7244
       Debtor:
               23-90086 - Tehum Care Services, Inc.
       District:
               Southern District of Texas, Houston Division
       Creditor:                                                    Has Supporting Documentation:
               AIG Member Companies listed on attached addendum            Yes, supporting documentation successfully uploaded
               AIG Member Companies Attn K. Larner                  Related Document Statement:
               28 Liberty Street
                                                                    Has Related Claim:
              New York, New York, 10005                                    No
              United States                                         Related Claim Filed By:
              Phone:
                                                                    Filing Party:
              212-458-7101
                                                                            Authorized agent
              Phone 2:

              Fax:

              Email:
              kevin.larner@aig.com
       Disbursement/Notice Parties:
              Michael S. Davis, Esq.
              Zeichner Ellman and Krause LLP
              1211 Avenue of the Americas

              New York, New York, 10036
              United States
              Phone:
              914-649-9447
              Phone 2:

              Fax:

              E-mail:
              mdavis@zeklaw.com

       Other Names Used with Debtor:                                Amends Claim:
                                                                            No
                                                                    Acquired Claim:
                                                                            No
       Basis of Claim:                                              Last 4 Digits:        Uniform Claim Identifier:
              insurance                                                     No
       Total Amount of Claim:                                       Includes Interest or Charges:
              13951361.00                                                   No
       Has Priority Claim:                                          Priority Under:
              No
       Has Secured Claim:                                           Nature of Secured Amount:
              Yes: 13951361.00                                             Other
       Based on Lease:                                                     Describe: cash held by creditor
              No                                                    Value of Property:
       Subject to Right of Setoff:                                         13951361.00
              Yes, Cash held by creditor                            Annual Interest Rate:

                                                                    Arrearage Amount:

                                                                    Basis for Perfection:
                                                                           cash held by creditor
                                                                    Amount Unsecured:




VN: A2199CE97805DB4BEEE7D6D077B279BE
       Submitted By:
              Michael S. Davis on 11-Aug-2023 9:56:45 a.m. Eastern Time
       Title:
              Attorney
       Company:
              Zeichner Ellman and Krause LLP




VN: A2199CE97805DB4BEEE7D6D077B279BE
                                              security

In re:                                             Chapter 11

TEHUM CARE SERVICES, INC                           Case No 23-90086

                                    Debtor.


                                ADDENDUM TO
               PROOF OF CLAIM #2 OF THE AIG MEMBER COMPANIES

                American Home Assurance Company, AIG Assurance Company, AIG Specialty
Insurance Company, AIG Property Casualty Company, Commerce and Industry Insurance
Company, Granite State Insurance Company, Illinois National Insurance Co., Lexington Insurance
Company, National Union Fire Insurance Company of Pittsburgh, Pa., New Hampshire Insurance
Company, The Insurance Company of the State of Pennsylvania and certain other entities related to
AIG Property Casualty Inc. (collectively, the “AIG Member Companies”) that conducted the
business transactions described herein with VALITAS HEALTH SERVICES, INC, (Valitas”) et al
to the extent the Debtor herein TEHUM CARE SERVICES, INC. and its predecessors and affiliates
(collectively, “Debtor”) has responsibility for or an interest in such business transactions, AIG
Member Companies hereby submit this proof of claim (the “Proof of Claim”).


A.       SECURED CLAIM

                Annexed hereto as Exhibit A is a certain Payment Agreement dated effective
January 1, 2012 between AIG Member Companies on-the-one-hand and Valitas on-the-other-hand,
setting out Payment Obligations of Valitas, of certain affiliates of Valitas, and (to the extend
applicable) of the Debtor herein TEHUM CARE SERVICES, INC and its predecessors and
affiliates. The amount of that Payment Obligation is disputed and is currently subject to an on-going
arbitration commenced by CHX TX d/b/a YesCare (“CHX”), asserting that it is the successor to
Valitas. (The Payment Agreement annexed hereto, together with its addenda, schedules,
amendments, and renewals are referred to collectively herein as the “Payment Agreement.”)

                AIG Member Companies hold cash as collateral in the amount of $13,951,361 (the
“Collateral”) as of March 31, 2023, which CHX claims has been assigned to it. AIG Member
Companies assert a secured claim for the full amount of all Payment Obligations under the Payment
Agreement, secured by the Collateral, plus any other amount that may be owed to the AIG
Companies by Debtor.

                As of February 2023, unpaid liquidated reimbursable losses due as Payment
Obligations were tabulated to be $823,575. This amount continues to grow daily as workers
compensation claims continue to be paid. The total amount of the Payment Obligations is disputed
and subject to the pending arbitration commenced by CHX.




1027374v2
B.     POTENTIAL UNLIQUIDATED
       COMPONENTS OF THIS PROOF OF CLAIM.

                1.      Unmatured and/or Unliquidated Claim. The Debtor entered into certain
other agreements with the AIG Member Companies and may be obligated to pay to among other
things, audit or other premiums, deductibles, self-insured retention, reimbursement obligations, fees,
expenses and related costs that are not readily calculable at this time. Certain of such amounts
remain unmatured, contingent and/or unliquidated, and such amounts constitute an unliquidated
claim against the Debtor. Should any such amounts become liquidated or become mature such
amounts shall become a liquidated claim. The AIG Member Companies expressly reserve the right
to amend or supplement this Proof of Claim for whatever reason, including without limitation, for the
purpose of filing additional claims or to specify the amount of the AIG Member Companies’
unmatured, contingent and/or unliquidated claim as they become matured and/or liquidated.

                2.      Annexed hereto as Exhibit B is a list of insurance policies frorm which this
unliquidated claim may be derived.In connection with the foregoing, the AIG Member Companies
expressly preserve all rights at law or equity with respect to such funds or such rejection damages,
including, without limitation, the right to (i) obtain an accounting and audit, (ii) collect applicable
statutory, compensatory and punitive damages, and (iii) obtain payment of obligations from affiliates,
successors, officers and/or directors of the Debtor or from present or former affiliated companies as
allowed by applicable law.

                 3.     Other Insurance or Services. To the extent the AIG Member Companies
provide or provided any other or different insurance (including excess coverages or renewals of any
insurance), or other services to the Debtor, either included within or in addition to the insurance
policies listed on Exhibit B, the AIG Member Companies hereby assert a claim for all obligations of
the Debtor to the AIG Member Companies arising thereunder, including, without limitation,
premiums, deductibles, self-insured retention, reimbursement obligations, fees, expenses and other
costs arising from such transactions, or from funds advanced or to be advanced on the Debtor’s
behalf. Additionally, the AIG Member Companies reserve the right to amend this proof of claim to
assert further amounts due or particulars in connection therewith.

                4.      Bond Obligations. Claim is made to the extent of any surety bonds
outstanding if any, where the Debtor agreed to pay to the AIG Member Companies, among other
things, any and all loss and expense, including, without limitation, attorneys' fees, incurred by the
AIG Member Companies by reason of having issued any such bonds, and losses incurred as a result
of the issuance of any bonds. The amount presently due the AIG Member Companies with respect to
any bonds is unliquidated and untabulated.

               5.     Quantum Meruit. To the extent the Debtor received a benefit from service
or product provided by the AIG Member Companies, Debtor is obligated to pay the AIG Member
Companies for the value of the benefits received.

                6.     Joint Liability. Should Debtor be liable to the AIG Member Companies (or
any of them) for any obligations of any other entity, including without limitation CHX TX (d/b/a
YesCare), this Proof of Claim asserts such claim, with prejudice to the obligation of such entity.




                                                  2
              7.     Indemnity Obligations. In the event the Debtor has entered into any
agreement with the AIG Member Companies pursuant to which Debtor has a duty to indemnify the
AIG Member Companies, a claim is made herein for such right of indemnity.

               8.      Other. In connection with the foregoing, Debtor also may be liable to the
AIG Member Companies by virtue of relevant principles of contract and common law relating to,
among other things, subrogation, suretyship, indemnification or contribution.

                9.      Right of Recoupment. The AIG Member Companies assert the right to use
funds paid to them to recoup obligations of the Debtor arising therefrom.

                 10.      Security. To the extent the AIG Member Companies hold any cash or other
collateral as security for its claim, regardless of whether such cash or collateral is property of the
Debtor’s estate, the AIG Member Companies assert a secured claim and/or a right of setoff and
reserve its rights to collect against same by recoupment and/or setoff. Alternatively, or in addition, to
the extent the AIG Member Companies hold an interest in any property of the Debtor, the AIG
Member Companies assert a security interest in same to the extent of applicable law.

                11.      Interest. The AIG Member Companies claim all rights to claim interest to
the extent permitted by law, including post-petition interest to the extent such interest is secured. To
the extent this claim or any portion hereof, is unliquidated, appropriate interest (if any) remains
unliquidated at this time. In preparing any tabulation of a liquidated claim, we will endeavor to
include a tabulation of applicable interest to the extent dates of accrual of obligations can be readily
ascertained. The AIG Member Companies reserve the right to amend such calculations and to claim
additional interest as facts are learned, data compiled, and/or unliquidated claims become liquidated.

                12.     Administrative Expense. To the extent the AIG Member Companies’ claim
against the Debtor relates to the post-petition period the AIG Member Companies are entitled to
administrative priority under 11 U.S.C. §§ 503(b)(1) and 507(a)(2). Therefore, through this Proof of
Claim, the AIG Member Companies also assert an administrative expense claim for all services
provided, risks insured or occurrences occurring after the Petition Date, all or a portion of which may
be set forth in this Proof of Claim. To the extent any amounts set forth herein are entitled to
administrative expense priority, the AIG Member Companies hereby request immediate allowance
and payment of its administrative expense. Any failure by the AIG Member Companies to
specifically assert an administrative expense claim against the Debtor’s estate shall not be deemed a
waiver by the AIG Member Companies of its right to payment of an administrative expense, said
right being asserted herein and fully preserved.

                13.     Arbitration. The dispute concerning the amount of this claim is currently
pending in arbitration. Nothing herein is intended to supersede the jurisdiction of such arbitration.
The filing of this Proof of Claim is not intended to waive any right to arbitration. The AIG Member
Companies expressly reserve any right to arbitration with respect to this claim or any other dispute
arising in connection with the Debtor. To the extent of any pre-existing arbitration agreement
between the AIG Member Companies and Debtor, this Court's jurisdiction should be limited to
referring such dispute to arbitration and enforcing any arbitration award.




                                                   3
                 14.     No Consent to Jurisdiction; No Waiver of Jury Trial. The filing of this
Proof of Claim is not and shall not be deemed or construed as: (i) consent to jurisdiction of this Court
with respect to proceedings, if any, involving the duties and obligations of the AIG Member
Companies; (ii) a waiver or release of the AIG Member Companies’ right to a trial by jury in any
proceeding as to any and all matters so triable herein, whether or not the same be designated legal,
public, or private rights in any case, controversy or proceeding related hereto, notwithstanding any
designation of such matters as “core” proceedings pursuant to 28 U.S.C. § 157(b)(2), and whether
such jury trial right is pursuant to statute or the United States Constitution; (iii) a consent to this
Court’s entry of final orders or judgments with respect to the Proof of Claim or any other matter
involving the AIG Member Companies; (iv) a waiver of the AIG Member Companies’ right to have
any and all orders and judgments of this Court reviewed de novo by a court duly authorized under
Article III of the United States Constitution; or (v) a waiver of the AIG Member Companies’ right to
move to withdraw the reference with respect to the subject matter of this Proof of Claim, any
objection thereto or other proceeding which may be commenced in the Debtor’ bankruptcy cases or
otherwise involving the AIG Member Companies.

                15.      Reservation of Rights. In executing and filing this Proof of Claim, the AIG
Member Companies: (i) do not waive any right or rights that it has or may have against any other
persons liable for all or part of the claim set forth herein; (ii) expressly reserve the right to amend or
supplement this Proof of Claim in any respect; (iii) expressly reserve the right to assert all claims,
causes of action, defenses, offsets or counterclaims; and (iv) expressly reserve the right to contest
insurance coverage in the event of any claim that may be tendered by the Debtor for coverage.




                                                    4
EXHIBIT A
EXHIBIT B
                                                                                                                                                                                           Underwriter   Underwriter
  Policy #      Profit Center       Branch         Major Class        Ultimate D&B   Account #              Insured Name                 Writing Company          Effective   Expiration
                                                                                                                                                                                           Last Name     First Name
00001558098   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            ILLINOIS NATIONAL INS CO         2006-06-01   2012-06-01
00001556406   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2005-09-25   2006-06-01
00005502698   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2005-06-01   2006-06-01
00005502700   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2005-06-01   2011-06-01
00005726451   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2005-09-04   2011-06-01
00009843995   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2007-01-07   2012-06-01
00009844196   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      SPECIAL CONTRACT LIAB 4699751
                                                                      - BI           99089963    CORIZON HEALTH, INC            N U F I CO OF PITTSBURGH PA      2007-06-01   2012-06-01
00012716998   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2019-01-01   2020-01-01
00012717000   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS LIABILITY    4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2019-01-01   2020-01-01
00012717002   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2019-01-01   2020-01-01
00014122504   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS LIABILITY    5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00014122506   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS LIABILITY    5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00014122508   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS-LIAB-TRI     5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00014122510   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00014122512   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00014122514   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            AMERICAN HOME ASSURANCE CO       2018-01-01   2019-01-01
00014122516   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00015425388   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-01-01   2017-07-01
00015425391   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-01-01   2017-07-01
00015425394   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-01-01   2017-07-01
00015425396   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2017-01-01   2017-07-01
00015425398   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-01-01   2017-07-01
00015519116   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       WORKERS-COMP-TRI       4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00015519119   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS-LIAB-TRI     4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00015684266   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00015684268   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00015684272   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2012-01-01   2013-01-01
00020608758   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2020-01-01   2021-01-01
00020608760   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2020-01-01   2021-01-01
00023096178   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            AMERICAN HOME ASSURANCE CO       2019-01-01   2020-01-01
00038238190   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238191   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238192   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238193   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238194   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238195   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238196   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238197   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238262   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238263   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238264   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238266   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2015-01-01   2016-01-01
00063724600   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00063724602   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00063724604   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00063724606   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00063724609   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00067712461   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            N U F I CO OF PITTSBURGH PA      2010-06-01   2012-06-01
00067712463   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2010-06-01   2011-06-01
00068022422   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022425   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       WORKERS-COMP-TRI       4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022427   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       WORKERS-COMP-TRI       4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022429   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022431   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022433   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       WORKERS-COMP-TRI       4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2016-01-01   2017-01-01
00086326196   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00086326198   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00086326197   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00068022434   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       WORKERS-COMP-TRI       4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022432   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022430   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS LIABILITY    4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022428   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       WORKERS-COMP-TRI       4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022426   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022423   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00068022421   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS-LIAB-TRI     4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00067712462   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      EMPLOYERS LIABILITY    4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2010-06-01   2012-06-01
00067712460   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2010-06-01   2011-06-01
00063724608   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00063724605   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00063724603   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            AMERICAN HOME ASSURANCE CO       2017-07-01   2018-01-01
00063724601   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00063724598   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-01-01   2017-07-01
00038238265   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238264   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238263   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238262   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00038238196   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238195   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238194   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238193   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238192   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238191   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238190   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00023096184   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            AMERICAN HOME ASSURANCE CO       2020-01-01   2021-01-01
00020608761   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2020-01-01   2021-01-01
00020608759   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2020-01-01   2021-01-01
00015684273   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2012-01-01   2013-01-01
00015684270   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00015684267   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2015-01-01   2016-01-01
00015684265   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2012-01-01   2013-01-01
00015519118   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00015425400   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-01-01   2017-07-01
00015425397   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            AMERICAN HOME ASSURANCE CO       2017-01-01   2017-07-01
00015425395   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-01-01   2017-07-01
00015425393   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-01-01   2017-07-01
00015425389   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2017-01-01   2017-07-01
00014122517   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00014122515   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS LIABILITY    5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00014122513   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       WORKERS-COMP-TRI       5882883        5882883    CORIZON HEALTH, INC            AMERICAN HOME ASSURANCE CO       2018-01-01   2019-01-01
00014122511   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00014122509   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00014122507   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS LIABILITY    5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00014122505   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                5882883        5882883    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2018-01-01   2019-01-01
00012717003   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS LIABILITY    4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2019-01-01   2020-01-01
00012717001   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2019-01-01   2020-01-01
00012716999   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS-LIAB-TRI     4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2019-01-01   2020-01-01
00012716997   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            NEW HAMPSHIRE INSURANCE CO       2019-01-01   2020-01-01
00009843996   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2007-01-07   2012-06-01
00005733108   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            N U F I CO OF PITTSBURGH PA      2006-06-01   2012-06-01
00005502764   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2005-06-01   2008-06-01
00005502699   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2005-06-01   2011-06-01
00001558099   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2006-06-01   2008-06-01
00000834479   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2004-06-01   2005-06-01
00000834478   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            INS CO OF THE STATE OF PA        2004-06-01   2005-06-01
00000623293   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    CORIZON HEALTH, INC            AIG PROPERTY CASUALTY CO         2006-06-01   2010-06-01
00015819866   39 - PRIVATE AND 22
                               NON- SAINT
                                    PROFITLOUIS
                                           MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        51129213    VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2013-01-01   2014-01-01
00014770370   39 - PRIVATE AND 22
                               NON- SAINT
                                    PROFITLOUIS
                                           MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        51129213    VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2012-01-01   2013-01-01
00014770325   39 - PRIVATE AND 22
                               NON- SAINT
                                    PROFITLOUIS
                                           MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        606084705   VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2012-01-01   2013-01-01
00018238327   39 - PRIVATE AND 07
                               NON- ATLANTA
                                    PROFIT MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        606084705   VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2014-01-01   2015-01-01
00018238027   39 - PRIVATE AND 07
                               NON- ATLANTA
                                    PROFIT MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        51129213    VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2014-01-01   2015-01-01
00015821076   39 - PRIVATE AND 22
                               NON- SAINT
                                    PROFITLOUIS
                                           MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        606084705   VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2013-01-01   2014-01-01
00024156763   39 - PRIVATE AND 07
                               NON- ATLANTA
                                    PROFIT MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        606084705   VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2015-01-01   2016-01-01
00041725343   39 - PRIVATE AND 07
                               NON- ATLANTA
                                    PROFIT MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        51129213    VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2016-01-01   2017-01-01
00061569024   39 - PRIVATE AND 07
                               NON- ATLANTA
                                    PROFIT MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        606084705   VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2017-01-01   2018-01-01
00041725333   39 - PRIVATE AND 07
                               NON- ATLANTA
                                    PROFIT MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        606084705   VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2016-01-01   2017-01-01
00014213735   39 - PRIVATE AND 22
                               NON- SAINT
                                    PROFITLOUIS
                                           MGM LIAB(O/T AUTO)BI CLM MDE W/DEF
                                                                         0            444447     VALITAS EQUITY LLC             N U F I CO OF PITTSBURGH PA      2011-01-01   2012-01-01
00014234617   39 - PRIVATE AND 02
                               NON- CHICAGO
                                    PROFIT MGM LIAB(O/T AUTO)BI CLM MDE W/DEF
                                                                         0            444447     VALITAS EQUITY, LLC            N U F I CO OF PITTSBURGH PA      2009-01-01   2010-01-01
00014215006   39 - PRIVATE AND 22
                               NON- SAINT
                                    PROFITLOUIS
                                           MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        606084705   VALITAS EQUITY, LLC            N U F I CO OF PITTSBURGH PA      2011-06-03   2012-01-01
00014240693   39 - PRIVATE AND 22
                               NON- SAINT
                                    PROFITLOUIS
                                           MGM D & O - CLAIMS MADE W/DEF 0            444447     VALITAS EQUITY, LLC            N U F I CO OF PITTSBURGH PA      2010-01-01   2011-01-01
00014240794   39 - PRIVATE AND 22
                               NON- SAINT
                                    PROFITLOUIS
                                           MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        606084705   VALITAS EQUITY, LLC            N U F I CO OF PITTSBURGH PA      2010-01-01   2011-01-01
00014240744   39 - PRIVATE AND 22
                               NON- SAINT
                                    PROFITLOUIS
                                           MGM LIAB(O/T AUTO)BI CLM MDE W/DEF
                                                                         0            444447     VALITAS EQUITY, LLC            N U F I CO OF PITTSBURGH PA      2010-01-01   2011-01-01
00014213899   39 - PRIVATE AND 22
                               NON- SAINT
                                    PROFITLOUIS
                                           MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        606084705   VALITAS EQUITY, LLC            N U F I CO OF PITTSBURGH PA      2011-01-01   2012-01-01
00006440014   97 - LEX HEALTHCARE
                              31 - HOUSTON      MED MALPRACTICE CLAIMS
                                                                     4699751
                                                                       MADE          783051410   VALITAS HEALTH SERVICES I      LEXINGTON INSURANCE COMPANY      2009-10-01   2012-01-01
00024156925   39 - PRIVATE AND 07
                               NON- ATLANTA
                                    PROFIT MGM D & O - CLAIMS MADE W/DEF
                                                                      5882883         5882883    VALITAS HEALTH SERVICES INC    N U F I CO OF PITTSBURGH PA      2015-01-01   2016-01-01
00006797914   97 - LEX HEALTHCARE
                              31 - HOUSTON      MEDICAL MALPRACTICE 5882883           5882883    VALITAS HEALTH SERVICES INC    LEXINGTON INSURANCE COMPANY      2015-01-01   2016-01-01
00005480112   04 - CORPORATE ACCOUNTS
                              02 - CHICAGO      UNKNOWN                4699751       783051410   VALITAS HEALTH SERVICES INC    N U F I CO OF PITTSBURGH PA      2003-10-31   2004-11-01
00006797138   97 - LEX HEALTHCARE
                              31 - HOUSTON      UNKNOWN                5882883        5882883    VALITAS HEALTH SERVICES, INC   LEXINGTON INSURANCE COMPANY      2012-01-01   2014-01-01
00006797964   97 - LEX HEALTHCARE
                              31 - HOUSTON      MED MALPRACTICE CLAIMS
                                                                     5882883
                                                                       MADE           5882883    VALITAS HEALTH SERVICES, INC   LEXINGTON INSURANCE COMPANY      2015-03-04   2016-03-04
00009658568   39 - PRIVATE AND 02
                               NON- CHICAGO
                                    PROFIT MGM D & O - CLAIMS MADE W/DEF
                                                                      4699751        783051410   VALITAS HEALTH SERVICES, INC   N U F I CO OF PITTSBURGH PA      2007-01-01   2008-01-01
00009389853   97 - LEX HEALTHCARE
                              31 - HOUSTON      MEDICAL MALPRACTICE 5882883           5882883    VALITAS HEALTH SERVICES, INC   LEXINGTON INSURANCE COMPANY      2013-03-04   2014-03-04
00006797142   97 - LEX HEALTHCARE
                              31 - HOUSTON      MEDICAL MALPRACTICE 5882883           5882883    VALITAS HEALTH SERVICES, INC   LEXINGTON INSURANCE COMPANY      2012-01-01   2016-01-01
00006797662   97 - LEX HEALTHCARE
                              31 - HOUSTON      MEDICAL MALPRACTICE 5882883           5882883    VALITAS HEALTH SERVICES, INC   LEXINGTON INSURANCE COMPANY      2014-03-04   2015-03-04
00015425392   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS LIABILITY    4699751       99089963    VALITAS HEALTH SERVICES, INC   NEW HAMPSHIRE INSURANCE CO       2017-01-01   2017-07-01
00015519117   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    VALITAS HEALTH SERVICES, INC   NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00015684267   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    VALITAS HEALTH SERVICES, INC   NEW HAMPSHIRE INSURANCE CO       2012-01-01   2015-01-01
00025052322   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    VALITAS HEALTH SERVICES, INC   INS CO OF THE STATE OF PA        2013-01-01   2014-01-01
00038238197   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    VALITAS HEALTH SERVICES, INC   NEW HAMPSHIRE INSURANCE CO       2014-01-01   2015-01-01
00038238266   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    VALITAS HEALTH SERVICES, INC   INS CO OF THE STATE OF PA        2014-01-01   2015-01-01
00025052323   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    VALITAS HEALTH SERVICES, INC   INS CO OF THE STATE OF PA        2013-01-01   2014-01-01
00063724599   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       EMPLOYERS LIABILITY    4699751       99089963    VALITAS HEALTH SERVICES, INC   NEW HAMPSHIRE INSURANCE CO       2017-07-01   2018-01-01
00065886010   55 - PRIMARY NATIONAL
                              07 - ATLANTA
                                    ACCTS       UNKNOWN                5882883        5882883    VALITAS HEALTH SERVICES, INC   AM INT'L UNDRWRTRS & AIU INS C   2021-12-31   2022-12-31
00065886012   55 - PRIMARY NATIONAL
                              07 - ATLANTA
                                    ACCTS       UNKNOWN                5882883        5882883    VALITAS HEALTH SERVICES, INC   AM INT'L UNDRWRTRS & AIU INS C   2021-12-31   2022-12-31
00068022424   55 - PRIMARY NATIONAL
                              31 - HOUSTON
                                    ACCTS       UNKNOWN                4699751       99089963    VALITAS HEALTH SERVICES, INC   NEW HAMPSHIRE INSURANCE CO       2016-01-01   2017-01-01
00069862872   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    VALITAS HEALTH SERVICES, INC   NEW HAMPSHIRE INSURANCE CO       2013-01-01   2014-01-01
00069862871   59 - PRIMARY COMMERCIAL
                              31 - HOUSTON      UNKNOWN                4699751       99089963    VALITAS HEALTH SERVICES, INC   INS CO OF THE STATE OF PA        2013-01-01   2
